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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

DIAMONIK HOUGH, et al.,                      :
    Plaintiffs,                              :
                                             :              CIVIL ACTION
       v.                                    :              NO. 20-3508
                                             :
CITY OF PHILADELPHIA, et al.,                :
      Defendants.                            :

                                            ORDER


       AND NOW, this 25th day of January, 2021, as stated during the conference held on

January 25, 2021, it is ORDERED that:


   •   The case is STAYED until the status telephone conference on February 23, 2021 at 2:00

       p.m.

   •   The case is REFFERRED to Magistrate Judge David R. Strawbridge for a settlement

       conference, which shall be scheduled only if the parties request assistance.

   •   The City of Philadelphia’s request for an extension of time to respond to Plaintiffs’

       Amended Complaint is GRANTED. The City of Philadelphia must respond on or

       before February 26, 2021.




                                             ___s/ANITA B. BRODY, J.________
                                             ANITA B. BRODY, J.




Copies via ECF
